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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Brian Whittman
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:18−cv−07763
                                                                     Honorable Andrea R.
                                                                     Wood
The Partnerships and Unincorporated Associations
Identified on Schedule "A"
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 6, 2018:


         MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held. Only
counsel for Plaintiff appeared. Plaintiffs motion for leave to file under seal [9] and motion
to file excess pages [11] are granted. The Clerk is directed to maintain the following
documents under seal until further order of this Court: (1) Schedule A regarding
Complaint (Dkt. No. [10]) and (2) Exhibit 2 to the Declaration of David Gulbransen (Dkt.
No. [14]). Only Plaintiff's counsel and Court staff shall have access to these documents.
Plaintiff's ex parte motion for a temporary restraining order, including a temporary
injunction, an order to temporarily transfer of the Defendant domain names, a temporary
asset restraint, and expedited discovery [12] is taken under advisement. Status hearing set
for 12/20/2018 at 9:00 AM. Mailed notice (lf, )




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